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                                                                                       2017 Jun-22 PM 12:02
                                                                                       U.S. DISTRICT COURT
                                                                                           N.D. OF ALABAMA




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTIIERN DISTRICT OF ALABAMA
                         SOUTHERN DTVISION



UNITED STATES OF AMERICA

                   v.

OLIYER L. ROBINSON, JR.



                                PLEA AGREEMENT

       The Government and defendant      OLIVER L. ROBINSON, JR., hereby

acknowledge the following plea agreement in this case:

                                         PLEA

      The defendant agrees to (i) plead guilty to COUNTS ONE through SEVEN

of the Information filed in the above numbered and captioned matter; (ii) agree not

to seek or hold any federal, state or local elected position of any kind; (iii) pay

restitution on the conspiracy, bribery, and fraud counts in the amount and to the

victims determined by the Court at sentencing; (iv) pay full restitution for taxes due

and owing for tax years 201I through 2015 as set fonh in paragraph       XIV of this

Plea Agreement; and (v) agree to the entry of a forfeiture judgment in an amount       of

no more than $767,783.00. In exchange, the United States Attorney, acting on

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behalf of the Government and through the undersigned Assistant United States

Attorney, agrees to move to recommend the disposition specified below, subject to

the conditions in paragraphs   IX and X.

                        TERMS OF'THE AGREEMENT

I. MAXIMI'M PUNISHMENT

      The defendant understands that the maximum statutory punishment that may

be imposed for each count charging the crime of conspiracy, in violation of Title

18, United States Code, Section 371, as charged in COUNT ONE, is:


             a.    Imprisonment for not more than 5 years;

             b.    A fine of not more than $250,000.00, or

             c.    Both (a and b);

             d.    Supervised release of not more than 3 years; and

             e.    Special Assessment Fee of $100 per count.

      The defendant understands that the maximum statutory punishment that may

be imposed for each count charging the crime of bribery, in violation of   Title    18,

United States Code, Section 666(aXlXB), as charged in COUNT TWO, is:

            a.     Imprisonment for not more than l0 years;

            b.     A fine of not more than $250,000.00; or

            c.     Both (a and b);

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              d.    Supervised release of not more than 3 years; and

              e.    Special Assessment Fee of $100 per count.

        The defendant understands that the maximum statutory punishment that may

be imposed for each count charging the crime of wire fraud, in violation of     Title     18,

United States Code, Sections 1343, as charged in COUNTS THREE through SIX,

is:

              a.    Imprisonment for not more than 20 years;

              b.    A fine of not more than $250,000.00; or

              c.    Both (a and b);

              d.    Supervised release of not more than 3 years; and

              e.    Special Assessment Fee of $100 per count.

        The defendant understands that the maximum statutory punishment that may

be imposed for each count charging the crime of tax evasion, in violation of Title

26, United States Code, Section 7201, as charged in COUNT SEVEN, is:

              a.    Imprisonment for not more than 5 years;

             b.     A fine of not more than $100,000.00, together with the costs of

                    prosecution; or

             c.     Both (a and b);




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              d.       Supervised release of not more than 3 years; and

              e.       Special Assessment Fee of $100 per count.

II. FACTUAL BASIS FOR PILEA

       The Government is prepared to prove, at a minimurn, the following facts at

the trial of this case:

                          Oliver L. Robinson. Jr.. and his Entities

       Defendant OLIVER L. ROBII\SON, JR., was a member of the Alabama

House of Representatives from 1998 until his resignation on or about November 30,

2016. He represented District 58 and served          as   Vice-Chairman of the Jefferson

County Legislative     Delegation. Defendant OLIVER L. ROBINSON, JR., was

an agent of the State of Alabama, a state government that received in excess          of

$10,000.00 under a Federal program involving a grant, contract, subsidy, loan,

guarantee, insurance, or other form of Federal assistance during each year material

to this Information.

       Based on his position as a member of the Alabama House of Representatives,

defendant   OLMR L. ROBINSON,             JR., owed a duty of loyalty and honesty to

the State of Alabama and its citizens, free from deceit, self-enrichment,

concealment, and conflicts of interests between his private interests and the official

responsibilities inherent in his office of public trust.

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      To finance his campaigns for office, defendant    OLMR L. ROBINSON,
JR., solicited and accepted contributions from individuals, corporations, and

political action committees. The campaign contributions to defendant      OLMR L.
ROBINSON, JR., could not lawfully be converted by him to personal use. He

controlled the bank accounts into which campaign contributions were deposited.

      In or about August 2004, defendant OLwER L. ROBINSON, JR.,

established the Oliver Robinson Foundation and served as its President. The stated

purpose of the Oliver Robinson Foundation was to raise funds to advance financial

literacy among students at high schools and Historically Black Colleges and

Universities through publications and presentations. Defendant OLIYER L.

ROBINSON, JR., used the Oliver Robinson Foundation to raise money to fund an

annual Black Achievers Awards Gala in Birmingham, Alabama,       ild   to publish a

magazine called The Community Reinvestor Magazine. In or about March 2A05,

the Oliver Robinson Foundation's application for tax-exempt status under section

501(c)(3) of the Internal Revenue Code was approved. Defendant      OLMR L.
ROBINSON, JR., controlled the bank account opened in the name of the Oliver

Robinson Foundation.

      Defendant   OLMR L. ROBINSON, JR., also founded Robinson &
Robinson Communications, I-LC. in or about 2001 and served as its President.

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This entity was formed to "produce, record, promote, market, and sell compact

discs and cassette   tapes." Defendant OLMR L. ROBINSON, JR., controlled

the bank account opened in the name of this business.

      Partnering for Progress was an entity established in 2009 by defendant

OLMR      L. ROBINSONI, JR., and another individual to organize an annual

business conference. Defendant   OLIVER L. ROBINSON, JR., and others asked

corporations to sponsor the conferences by contributing money to Partnering for

Progress. Defendant     OLMR L. ROBINSON, JR., continued to control a
Partnering for Progress bank account despite having his name removed as an

authorized signatory on the account in 2009.

                     Environmental Issues in North Birmingham

      The United States Environmental Protection Agency ("EPA") is the federal

agency charged with the mission of ensuring that all Americans are protected from

significant risks to the environment and human health where they live, learn, and

work.   EPA designated an area of north Birmingham, Alabama, including the

neighborhoods of Harriman Park, Fairmont, and Collegeville, as the 35th Avenue

Superfund Site based on elevated levels of arsenic, lead, and benzo(a)pyrene found

during soil sampling. In September 2013, EPA sent general notice letters to five

companies potentially responsible for the pollution in north Birmingham, including

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ABC Coke, a division of Drummond Company. A company determined to be

responsible for pollution within the 35th Avenue Superfund Site could have faced

tens of millions of dollars in cleanup costs and fines.

      In July 2014, EPA began considering       a   petition filed by GASP, a

Birminghanr, Alabama, environmental advocacy group, to expand the 35th Avenue

Superfrrnd Site into the Tarrant and Inglenook areas of north Birmingham and to

conduct a preliminary assessment of pollutants allegedly deposited there by ABC

Coke and others. On October 9,2014, EPA granted the petition and contracted

with the Alabama Department of Environmental Management (*ADEM") to

perform the preliminary assessment.

      ADEM is the state agency responsible for the implementation of

environmental programs and policies, including administering federally approved

or delegated environmental programs. It receives substantial funding from the

federal government and is included in the State of Alabama's annual general fund

budget approved by the legislature and Governor. The Alabama Environmental

Management Commission ("AEMC") is the state commission responsible for

developing environmental policy for the State of Alabama, selecting the ADEM

Director, and advising the ADEM Director on environmental matters. AEMC

holds periodic public meetings and, among other matters, considers comments from

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interested parties on issues involving the State of Alabama's environmental policy.

      In September 20L4,EPA proposed adding the 35ft Avenue Superfund Site to

the National Priorities List, a list of the nation's Superfund Sites requiring      priority

attention. Placement on the National Priority List would have allowed EPA to use

the federal Superfund Trust Fund to conduct long-term remedial actions at the 35tr

Avenue Superfund Site provided the State of Alabama agreed to fund ten percent                of

the costs incurred during cleanup of the   site.   The contribution required from the

State of Alabama would have totaled millions of         dollars. A listing on the National

Priorities List would have allowed cleanup of the Site to proceed even if EPA was

unable to persuade or compel a potentially responsible party to conduct or fund the

cleanup. EPA could affempt later to recover money spent by the federal and state

govemments as part of the cleanup from companies determined to be responsible

parties through negotiation and/or litigation.

      The Governor of Alabama designated ADEM as the State of Alabama's

representative on issues concerning the potential listing of the 35ft Avenue

Superfund Site on the National Priorities List and the expansion of the 35th Avenue

Superfund Site into the Tarrant and Inglenook communities.

      EPA held a public comment period on the proposed listing of the 35th

Avenue Superfund Site on the National Priorities List from September 22,2014,to

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January   22,2015. In January    2015, ADEM, acting on behalf of the State of

Alabama, requested that EPA's proposal be withdrawn and no further action taken

until issues raised by the State could be resolved. ADEM stated that if the issues

could not be resolved the State of Alabama would request review pursuant to EPA's

formal issue resolution process. After considering all comments, if EPA

concluded that the 35thAvenue Superfund Site qualified for listing on the National

Priorities List, EPA would consult with ADEM and, if necessary, follow the formal

issue resolution process prior to making a final      decision. EPA's review of the

proposed listing on the National Priorities List continued into 2016.

        Drummond Company and ABC Coke were represented by Balch                   &

Binghan\ a Birmingham, Alabama, law firrn, in relation to EPA's actions in north

Birmingham. Attorney #1 was a Balch & Bingham partner coordinating the

response to EPA's actions on behalf of ABC Coke and Drummond Company.

Drummond Employee #1 was a Drummond Company employee involved with

Attorney #1 in responding to   EPA.    Both Attorney       #l   and Drummond Employee

#l   were registered with the State of Alabama as lobbyists.

        Beginning in or aboutzOl4, and continuing until at least November 2016, the

strategy employed by Attorney    #l   and Drummond Employee          #l   focused on

protecting ABC Coke and Drummond Company from the tremendous potential

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costs associated with being held responsible for pollution within the affected areas.

They sought to accomplish this goal by working to prevent EPA from listing the

35ft Avenue Superfund Site on the National Priorities List and expanding the

Superfund Site into Tarrant and Inglenook. The plan included advising residents

of north Birmingham and public offrcials to oppose EPA's actions. As part of the

overall strategy, Balch & Bingham paid defendant OLIVER L. ROBINSON,                     JR,

through his foundation, to represent Balch & Bingham's and its clients'interests

exclusively in matters related to EPA's actions in north Birmingham. One            of

defendant   OLMR L. ROBINSON,          JR's, first     tasks in furtherance of this

strategy was to appear before AEMC and the ADEM Director to advance the

opposition of Balch & Bingham and its clients to EPA's actions in north

Birmingham.

      In 2015, Attorney #1 and Drurnmond Employee #1 formed a tax-ex.*1,

corporation named Alliance for Jobs and the Economy and recruited corporations to

contribute money to the Alliance for Jobs and the Economy to help fund opposition

to EPA's actions in north Birmingham. Drummond Company and several other

corporations contributed money to the Alliance for Jobs and the Economy at the

request of Attorney #1 and Dnrmmond Employee           #1.   Drummond Employee #1

opened and controlled a bank account in the name of the Alliance for Jobs and the

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Economy.

           Conspiracv to Commit Briberv and Honest Service Fraud

      From in or about November 2014, and continuing until in or about November

2016, the exact dates being unknown, within Jefferson County in the Northern

District of Alabama, and elsewhere, defendant   OLMR       L. ROBINSON, JR.,

knowingly and willfully conspired, combined, and agreed with Attorney #1,

Drummond Employee #1, and others known and unknown to commit the federal

offenses of bribery and honest services wire fraud.

      It was a part of the conspiracy that defendant OLIVER L. ROBINSON,

JR., Attorney #1, and Drummond Employee #1 would and did agree that defendant

OLMR       L. ROBINSON, JR., would be paid, through the Oliver Robinson

Foundation, to represent Balch & Bingham's and its clients' interests exclusively in

relation to the environmental issues in north Birmingham despite defendant

OLMR L. ROBINSON, JR.'s duty to honestly, openly, and fairly represent the
State of Alabama and the citizens and residents of Birmingham.

      It was a further part of the conspiracy that defendant   OLMR L.
ROBINSON, JR., Attorney #1, and Drummond Employee #1 would and did agree

that defendant   OLIVER L. ROBINSON, JR, would be paid, through the Oliver

Robinson Foundation, to use his position as a member of the Alabama House             of
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Representatives, Vice-Chairman of the Jefferson County Legislative Delegation,

and elected representative of citizens of Birrningham to pressure and advise public

officials to oppose EPA's actions in north Birmingham.

      It was a further part of the conspiracy that defendant   OLMR L.
ROBINSON, JR, Attorney #1, and Drummond Employee #l would and did agree

that defendant   OLIVER L. ROBINSON, JR., would appear before AEMC on

February 20,2015, to advance the opposition of Balch & Bingham and its clients to

EPA's actions in north Birmingham by using his official position to pressure and

advise AEMC and the ADEM Director to take and maintain a position on behalf           of

the State of Alabama favorable to Balch and Bingham and its clients in relation to

EPA's efforts to list the 35th Avenue Superfi.rnd Site on the National Priorities List

and expand the Superfund Site into Tarrant and Inglenook.

      It was a further part of the conspiracy that Attorney #1 would and did write

letters that defendant   OLMR L. ROBINSON, JR., would and did print verbatim
on his official Alabama House of Representatives letterhead and sign before

delivering to members of the AEMC and ADEM Director.

      It was a further part of the conspiracy that Attorney #1 would and did offer,

and defendant    OLMR L. ROBINSON, JR., would and did accept, a contract
between Balch & Bingham and the Oliver Robinson Foundation to influence and

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reward defendant OLIVER L. ROBINSON, JR., in connection with the use of his

position as a member of the Alabama House of Representatives in support of Balch

& Bingham's and its clients' opposition to EPA's actions in north Birmingham.

      It was a further part of the conspiracy that, four days prior to defendant

OLMR      L. ROBINSOI\, JR.'S, appearance before AEMC in February 2015, he

and Attorney   #l would and did sign the contract   between the Oliver Robinson

Foundation and Balch & Bingham.

      It was a further part of the conspiracy that the Oliver Robinson Foundation

would and did submit invoices each month to Balch & Bingham under the contract

and the law firm would pay those invoices.

      It was a further part of the conspiracy that Balch & Bingham would and did

submit invoices to Drummond Company and the Alliance for Jobs and the

Economy in identical amounts Balch & Bingham paid to the Oliver Robinson

Foundation. Drummond Employee #1 would cause either Drummond Company or

the Alliance for Jobs and the Economy to send payment to Balch      & Bingham on

those invoices.   All of the money contributed to the Alliance for Jobs and the

Economy was used by Drummond Employee          #l   to pay Balch & Bingham on the

invoices related to the Oliver Robinson Foundation.




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      It was a further part of the conspiracy that, eight days prior to the AEMC

meeting in February 2015, Balch   & Bingham would      and did pay the Oliver

Robinson Foundation $14,000.00 as the first payment under the contract.

      It was a further part of the conspiracy that, on the same day it paid

$14,000.00 to the Oliver Robinson Foundation, Balch     & Bingham would and did

send an invoice in an identical amount to Drummond Company, which Drummond

Company promptly paid.

      It was a further part of the conspiracy that Balch & Bingham, Drummond

Company, ffid the Alliance for Jobs and the Economy would and did pay the Oliver

Robinson Foundation a total of approximately $360,000.00 under the contract

during 2015 and 2016.

      In furtherance of the conspiracy and to achieve the objects thereof, the

conspirators committed and caused to be committed the following overt acts,

among others, in the Northern District of Alabama and elsewhere:

      In or about November 2014, Attorney #1 and Drummond Employee #1

engaged in discussions with defendant   OLMR L. ROBINSON, JR., regarding a
contract between Balch   & Bingham and one of defendant     OLMR L.
ROBINSON, JR.'s organizations. The conspirators discussed that defendant

OLIVER L. ROBINSON, JR., would appear before the AEMC to advance Balch

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& Bingham's and its clients' opposition to EPA's proposed actions by advising the

AEMC to take a position favorable to Balch & Bingham and its clients. Defendant

OLMR L. ROBINSON, JR., subsequently (in February 2015) agreed to appear
before the AEMC as requested.

      On or about December 1t,2014, defendant          OLMR L. ROBINSON, JR.,
sent an email to Attorney #1 stating: "[Attorney   #l]   go back to [Drummond

Employee #1] and the Drummond people and let them know that we           will   need


$7000 per   month." Attorney #1 forwarded this email to Drummond          Employee #1.

      On or about December 12,2014, defendant          OLMR     L. ROBINSON, JR.,

met with representatives of EPA to discuss issues related to north Birmingham.

Attorney #1 provided defendant OLIVER L. ROBINSON, JR., a list of talking

points consistent with Balch & Bingham's and its clients' position to guide the

meeting and instructed him to secretly record the meeting. Defendant OLIVER L.

ROBINSON, JR., did not reveal to EPA that he was in contract negotiations with

Balch & Bingham to represent Balch & Bingham's and its clients' interests in

relation to the environmental issues in north Birmingham that were the subject           of

the meeting.

      On or about December 23,2014, defendant          OLIVER L. ROBINSON, JR.,

met with representatives of GASP to discuss issues related to north Birmingham.

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Attorney #1 provided defendant     OLMR        L. ROBINSON, JR., a list of talking

points consistent with Balch & Bingham's and its clients' position to guide the

meeting and instructed him to secretly record the meeting. Defendant OLIVER L.

ROBINSON, JR., did not reveal to GASP that he was in contract negotiations with

Balch & Bingham to represent Balch & Bingham's and its clients' interests in

relation to the environmental issues in north Birmingham that were the subject         of

the meeting.

        On or about February 6,2015, Attorney #1 approved a letter he instructed an

associate to write for defendant   OLMR L. ROBINSON, JR., to sign requesting
permission from the AEMC Chairman for defendant OLIVER L. ROBINSON,

JR., to appear before the regularly scheduled Commission meeting on February 20,

2015, "on behalf of the concerned citizens working and residing in North

Birmingham." The letter stated: 'As     a state legislator and representative of a

district adjacent to the North Birmingham superfund site, it is my duty to ensure

that the North Birmingham cofirmunity is adequately represented to relevant State

organizations such as AEMC. The health and general welfare of our community

depends, in large part, on AEMC's continued willingness to hear and actively

engage in matters that are critically important to   them.   The NPL proposal is one

such   matter." The letter did not reveal to AEMC that the Oliver Robinson

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Foundation was being paid to represent the exclusive interests of Balch & Bingham

and its   clients. After defendant OLIVER L. ROBINSOI\, JR., printed the letter

on his official Alabama House of Representatives letterhead and signed it, he had          it

delivered to the AEMC Chairman.

       On February 6,2015, Attorney    #l   forwarded a draft of this letter to

Drummond Employee #1 in an email that stated: "[Drummond Employee                 #l] -   met

with Oliver. He has agreed to submit the request to AEMC today to meet the

deadline. However, he said he needed to think about the politics of it before he

would commit to providing conrments to the AEMC. I told him I understood and

he could always withdraw the request should he decide not to do         it.   Maybe helpful

if you followed up with him on this issue. Thanks."

      On or about February 1,2,2015, Balch & Bingham paid the Oliver Robinson

Foundation $14,000.00. On or about that same day, Balch & Bingham sent an

invoice in an identical amount to Drummond Company. Defendant OLIVER L.

ROBINSON, JR., caused an interstate wire transmission when he deposited this

check into the Oliver Robinson Foundation account at Regions Bank.

      On or about February 16,2015, four days before the AEMC meeting, and

four days after the first payment, Attorney   #l   and defendant   OLMR L.
ROBINSON, JR, signed a contract between Balch & Bingham and the Oliver

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Robinson Foundation. The contract, which was written and approved by Attorney

#1, provided that the Oliver Robinson Foundation could not "directly or indirectly

engage or be concerned or interested in any business or activity which conflicts

with its services to Balch or otherwise conflicts with the interests of Balch     as


determined solely by   Balch."   The contract stated that the effective date of the

contract was December 1,2014.

      On or about February 17,2015, Drummond Company paid Balch               &

Bingham $14,000.00, the identical amount Balch & Bingham paid to the Oliver

Robinson Foundation.

      In or about February 2015, defendant      OLMR L. ROBINSON, JR., agreed
with Attorney #1 and Drummond Employee          #l   to meet with two members of the

AEMC prior to his appearance before the full Commission.

      On February 20,2015, defendant        OLMR L. ROBINSON, JR., appeared
before the AEMC "to protect the residents of north Birmingham." He told AEMC

that calls from constituents led him, "as the vice chairman of the Jefferson County

House delegation, to do some research on the Superfi,rnd designations and the NPL

listings and to look at the North Birmingham 35tr Avenue area location with some

feryor." He advised    further that he   had']et to see any information that shows me

that this area should be designated as a Superfund site, not to mention being put on

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the NPL     listing." After stating   that he was "really here today to try to protect the

residents of north Birmingham," defendant          OLMR      L. ROBINSON' JR., advised

that "the thing that gets me and what is in the process of hurting the residents in that

area is that the EPA has included five other corporations in on this process, but


there have been no reports stating that these individuals are culpable in any way.

And where that hurts the residents is the fact that we will have decades of litigation

that   will occur   because of these five companies being    added." He asked the

AEMC to help narrow the list of potentially responsible parties if there were no

reports or tests implicating the corporations. Concluding, defendant          OLIVER L.

ROBINSON, JR., advised AEMC that if the areas of north Birmingham are

designated as a Superfund site or listed on the NPL, the residents are "considered to

live in a dump and nothing can happen there until it's either cleaned up and after

that, it   will take tremendous investment to get it to move forward." Defendant

OLMR          L. ROBINSON, JR., concealed from AEMC that the Oliver Robinson

Foundation was being paid to represent the exclusive interests of Balch & Bingham

and its    clients. The ADEM Director, who was present during the AEMC meeting,

later cited to senior EPA officials defendant       OLIVER L. ROBINSON, JR.'s,

public opposition to the listing of the    35th   Avenue Superfund Site on the National

Priorities List.

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      On or about March 4,2015, Attorney #1 wrote a second leffer for defendant

OLMR        L. ROBINSON, JR., to sign requesting information from the ADEM

Director so that defendant   OLMR L. ROBINSON, JR, could "better serve my
constituents." This letter was delivered to the ADEM Director and each member

of the AEMC after defendant OLIYER L. ROBINSON, JR., printed it on his

official Alabama House of Representatives letterhead and signed     it.   Neither

defendant   OLMR     L. ROBINSON, JR., nor Attorney #l revealed that the Oliver

Robinson Foundation was being paid to represent the exclusive interests of Balch         &

Bingham and its clients.

      In or about May 2015, Afforney   #l   wrote a Joint Resolution for consideration

by the Alabama Senate and Alabama House of Representatives urging "the

Attorney General and ADEM to combat the EPA's overreach." After the

resolution was submitted to and adopted by the Alabama Senate, defendant

OLMR        L. ROBINSON, JR., then a member of the Alabama House of

Representatives' Rules Commiuee, voted in committee to send the resolution to the

floor of the House of Representatives for consideration by the membership of the

House.

      During 2015 and20l6, pursuant to the contract between Balch & Bingham

and the Oliver Robinson Foundation, defendant      OLMR L. ROBINSON, JR.,
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through other individuals, corrrmunicated Balch & Bingham's and its clients'

opposition to EPA's actions to the residents of north Birmingham as directed by

Attorney #1 and Drummond Employee         #1.   The Oliver Robinson Foundation

communicated with the residents through an organization formed for that purpose

called Get Smart Tarant.

                       Fraud Related to Camnaisn Account

      From in or about January 201A, and continuing to in or about December

2015, the exact dates being unknown, within Jefferson County in the Northern

District of Alabama, and elsewhere, defendant OLIVER L. ROBINSON, JR,

devised and intended to devise a scheme and artifice to defraud contributors to his

campaigns, and to obtain money and property belonging to contributors to his

campaigns, by means of materially false and fraudulent pretenses, representations,

and promises.

      It was apafi of the scheme and artifice that defendant OLIVER L.

ROBINSON, JR., would and did solicit contributions to his campaigns from

individuals, corporations, and political action committees by representing that all

contributions would be used for lawful purposes associated with his campaigns for

election to the Alabama House of Representatives.




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      It was a further part of the scheme and artifice that defendant OLIVER L.

ROBINSON, JR., would and did accept campaign contributions from individuals,

corporations, and political action committees and deposit those funds into accounts

he controlled at Regions Bank.

It was a funher part of the scheme and artifice that defendant OLryER L.

ROBINSON, JR., would and did spend approximately $17,783.00 of campaign

contributions on personal items unrelated to his campaigns for public office.

      Defendant OLIVER L. ROBINSON, JR., caused an interstate

communication in furtherance of this scheme when he used a debit card associated

with one of his campaign accounts to make each purchase described below:

    COT]NT               DATE OF                 MERCHANT                 AMOINT
                        PURCHASE
        4            December 23,2013           Saks Fifth Avenue          $2,024.00

        5            February    ll,20l4        Victoria's Secret           $400.00




 Fraud Related to Partnerins for Prosress and Oliver Robinson Foundation

      From in or about January 2010, and continuing to in or about December

2016, the exact dates being unknown, within Jefferson County in the Northern

District of Alabama, and elsewhere, defendant      OLMR L. ROBINSON, JR.,
aided and abetted by others known and unknown, devised and intended to devise a

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scheme and artifice to defraud various corporations, and to obtain money and

property belonging to those corporations, by means of materially false and

fraudulent pretenses, representations, and promises.

      It was apart of the scheme and artifice that defendant    OLMR L.
ROBINSON, JR., and others would and did solicit money from corporations b1

representing that all contributions would be used to publish The Community

Reinvestor Magazine, or to defray costs associated with the annual Partnering for

Progress Business Conference or the annual Alabama Black Achievers Awards

Gala sponsored by the Oliver Robinson Foundation.

      It was a further part of the scheme and artifice that defendant OLIVER L.

ROBINSON, JR., and others would and did accept hundreds of thousands of

dollars in contributions from corporations for the magazine and these events and

deposit those funds into various bank accounts he controlled.

      It was a further part of the scheme and artifice that defendant   OLMR L.
ROBINSON, JR., would and did spend at least $250,000.00 of the conffibutions

on personal items unrelated to the magazine, business conferences or galas and

conceal his personal spending from contributors. Defendant OLIYER            L.

ROBINSON, JR., would often accomplish this scheme by purchasing personal

items and services using an American Express or Chase Bank credit card and then

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paying the credit card bills with money contributed to Partnering for Progress and

the Oliver Robinson Foundation   for themagazine,   business conferences, and galas.

      Defendant   OLMR L. ROBINSON, JR., caused an interstate
communication between Alabama and another state when he transferred funds from

the Oliver Robinson Foundation bank account to make an online payment        of

55,7 14.54to Chase Bank.

                                   Tax Evasion

      Defendant   OLMR      L. ROBINSON, JR., submitted a false and fraudulent

U.S. Individual lncome Tax Return, Form 1040, for each of the tax years 2011

through 2015 because he failed to include all personal spending from the campaign,

Partnering for Progtess, Oliver Robinson Foundation, and Robinson & Robinson

bank accounts as income on the returns and pay tax thereon. Defendant       OLMR
L. ROBINSON, JR., concealed this income, and attempted to evade and defeat the

payment of taxes, by committing the following acts of evasion, among others:

preparing and causing to be prepared, and signing and causing to be signed, false

and fraudulent U.S. Individual Income Tax Returns, Form 1040, which were

submitted to the Internal Revenue Service; failing to provide complete and accurate

records to his refurn preparer; transferring funds among multiple accounts to

conceal that the funds were subject to income tax; directing payments be made to

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the Oliver Robinson Foundation, a non-profit entity, rather than to Robinson       &

Robinson or himself personally; and continuing to exercise authority over and use a

Partnering for Progress bank account after removing himself as an authorized

signatory. The amount of tax due and owing for    each of these tax years is

estimated to be as follows:


              TAX YEAR                                TAX DEFICIENCY


                  20tl                                      $9,165


                  2012                                     $17,816


                  2013                                     $23,150


                  20r4                                     $33,718


                  2015                                     $114,429


                TOTAL                                      $198,278




      The defendant hereby stipulates that the facts stated above are

substantially correct and that the Court can use these facts in calculating the

defendant's sentence. The defendant further acknowledges that these facts do



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not constitute all of the evidence of each and every act that the defendant

and/or any co-conspirators may have committed.




                                                    L. ROBINSON,

III.                                                :


        The defendant agrees to waive the Fifth Amendment privilege against

self-incrimination and to provide TRUTHFUL AI\D COMPLETE

INFORMATION to the govemment concerning all aspects of the charged crimes,

including, but not limited to, the defendant's role and participation in the offenses,

as   well   as the roles and the   participation of all other persons involved in these

crimes of whom the defendant has knowledge. The defendant agrees to testiff

against all of those individuals at any time requested by the government, including

at any Grand Jury proceeding, forfeiture proceeding, bond hearing, pretrial hearing,

trial, retrial, or post-trial hearing.     ALL SUCH INFORMATION Al[D

TESTIMOIYY SHALL BE TRUTHFUL AND HONEST AND WITH NO

KNOWNG MATERIAL FALSE STATEMENTS OR OMISSIONS.

        Further, the defendant agrees to provide assistance and cooperation to the

govemment as defined and directed by any other investigative agency or body as


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the United States Attorney for the Northern District of Alabama may authorize,

which cooperation may include the defendant's periodic submission to a polygraph

examination to determine the truthfulness and accuracy of the defendant's

statements and information.

IV. MOTION PURSUANT TO U$SG S 5K1.1 AND/OR 18 U.S.C. S 3553(e):
      In the event the defendant provides assistance that rises to the level    of

"substantial assistance," as that term is used in USSG S   5Kl.l,   the government

agrees to file a motion requesting a downward departure in the calculation of the

defendant's advisory guideline sentence. Should any of the counts of conviction

subject the defendant to a mandatory minimum sentence, the government may also

seek a sentence reduction below said mandatory minimum sentence, by including in

its motion a recommendation pursuant to the provisions of l8 U.S.C. S 3553(e).

The defendant agrees that the determination of whether defendant's conduct rises to

the level of "substantial assistance" and/or whether defendant's conduct merits

consideration under l8 U.S.C. S 3553(e) lies solely in the discretion of the United

States Attorney's   Office.   Furthermore, the defendant agrees that the decision as to

the degree or extent of the downward departure requested,     if any, also lies in the

sole discretion of the United States Attorney's Office.

      Any motion pursuant to 5Kl.l and/or 18 U.S.C. S 3553(e) will be filed

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before the defendant's sentencing hearing and    will outline all material   assistance

which the defendant has provided. The defendant clearly understands and

acknowledges that because the defendant's plea is being offered in accordance with

Rule 1l(c)(l)(B), Fed.R.Criffi.P., the Court will not be bound by the government's

recommendation and may choose not to reduce the sentence at all.

V. RECOMMENDEDSENTENCE
       Subject to the limitations in paragraph X regarding subsequent conduct and

pursuant to Rule 11(c)(1)(B), Fed.R.Crim.P., the government, in the absence           of
usubstantial assistance" by the defendant, will recommend
                                                          the following

disposition:

               (a)   That the defendant be awarded an appropriate reduction in

                     offense level for acceptance of responsibility;

               (b)   That the defendant be sentenced to a term of imprisonment

                     within the advisory United States Sentencing Guideline range          as


                     that is determined by the court on the date that the sentence is

                     pronounced;

               (c)   That following any term of imprisonment, the defendant be

                     placed on supervised release for a period to be determined by

                     the court, subject to the standard conditions of supervised

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                   release as set forth in U.S.S.G. S 5D1.3 and any additional

                   conditions recornmended by United States Probation;

             (d)   That the defendant pay restitution on the conspiracy,bribery,

                   and fraud counts in the amount and to the victims determined by

                   the Court at sentencing;

             (e)   That the defendant pay full restitution for taxes due and owing

                   for tax years 201I through 2015 as set forth in paragraph XIV         of

                   this Plea Agreement;

             (0    That the court enter a forfeiture judgment in an amount no more

                   than$767,783.00; and

             (g)   That the defendant pay a special assessment fee of

                   $100 per count, said amount due and owing as of the date

                   sentence is pronounced.

vI.   wAryER oF RIGHT Tq AppEAL AND POST-CONVICTION
      RELTEF

      In consideration of the recommended disposition of this caser l,       OLMR
L. ROBINSON, JR., hereby waive and give up my right to appeal my

conviction and/or sentence in this case, as well as any fines, restitution, and

forfeiture orders, the court might impose. Further,I waive and give up the


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right to challenge my conviction and/or sentence, any fines, restitution,

forfeiture orders imposed or the manner in which my conviction and/or

sentence, any fines, restitution, and forfeiture orders were determined in any

post-conviction proceeding, including, but not limited to, a motion brought

under 28 U.S.C. S 2255.

      The defendant reserves the right to contest in an appeal or

post-conviction proceeding the following:

              (a)   Any sentence imposed in excess of the applicable statutory

                    maximum sentence(s);

              (b)   Any sentence imposed in excess of the guideline sentencing

                    range determined by the court at the time sentence is

                    imposed; and

              (c)   Ineffective assistance of counsel.

      The defendant acknowledges that before giving up these rights, the

defendant discussed the Federal Sentencing Guidelines and their application

to the defendant's case with the defendant's attorney, who explained them to

the defendant's satisfaction. The defendant further acknowledges and

understands that the government retains its right to appeal where authorized

by statute.
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        I,   OLMR L. ROBINSON,         JR., hereby place my signature on the line

directly below to signify that I fully understand the foregoing paragraphs, and

that I am knowingly and voluntarily entering into this waiver.




VII.    TTNITED STATES SENTENCING GUIDELINES

        Defendant's counsel has explained to the defendant, that in light of the

United States Supreme Court's decision in United States v. Booker, the federal

sentencing guidelines are advisory in   nature.    Sentencing is in the court's

discretion and is no longer required to be within the guideline   range.     The

defendant agrees that, pursuant to this agreement, the court may use facts it finds by

a preponderance   of the evidence to reach an advisory guideline range, and

defendant explicitly waives any right to have those facts found by     a   jury beyond   a

reasonable doubt.

VIII.    AGREEMENT NOT BINDING ON COURT

        The defendant fully and completely understands and agrees that it is the

Court's duty to impose sentence upon the defendant and that any sentence


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reconrmended by the government is NOT BINDING IIPON               TI{E COURT,          and

that the Court is not required to accept the government's recommendation. Further,

the defendant understands that   if the Court   does not accept the government's

recorlmendation, the defendant does not have the right to withdraw the guilty plea.

IX. VOIDING OF AGREEMENT

         The defendant understands that should the defendant move the Court to

accept the defendant's plea of guilty in accordance with, or pursuant to, the

provisions of North Carolina v. Alford, 400 U.S. 25 (1970), or tender a plea of nolo

contendere to the charges, this agreement   will become NULL      and   VOID. In that
event, the Government    will not be bound by any of the terms, conditions, or

recommendations, express or implied, which are contained herein.

X.   SUBSEOUENT CONDUCT

         The defendant understands that should the defendant violate any condition           of

pretrial release or violate any federal, state, or local law, or should the defendant say

or do something that is inconsistent with acceptance of responsibility, the United

States   will no longer be bound by its obligation to make the recommendations         set

forth in paragraphs IV and V of the Agreement, but instead, may make any

recorlmendation deemed appropriate by the United States Attorney in her sole

discretion.

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XI.   OTIIER DISTRICTS AND JURISDICTIONS

         The defendant understands and agrees that this agreement DOES NOT

BIND any other United States Attorney in any other district, or any other state or

local authority.

XII. COLLECTION            OF FINAI\CIAL OBLIGATION

         ln order to facilitate the collection of financial obligations to be imposed in

connection with this prosecution, the defendant agrees to fully disclose all assets in

which the defendant has any interest or over which the defendant exercises control,

directly or indirectly, including those held by a spouse, nominee or other third

party.    The defendant also   will promptly submit a completed financial statement to

the United States Attorney's Office, in a form that it provides and as it    directs. The

defendant also agrees that the defendant's financial statement and disclosures      will

be complete, accurate, and     truthful. Finally,   the defendant expressly authorizes the

United States Attorney's Office to obtain a credit report on the defendant in order to

evaluate the defendant's ability to satisff any financial obligation imposed by the

Court.




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X[I.    AGREEMENT REGARDING RELEVAI\T CONDUCT AND
        RESTITUTION

        As part of the defendant's plea agreement, the defendant admits to the above

facts associated with the charges and relevant conduct for any other     acts. The

defendant understands and agrees that any relevant conduct contained in the factual

basis   will   be used by the Court to determine the defendant's range of punishment

under the advisory sentencing guidelines. The defendant admits that all of the

crimes listed in the factual basis are part of the same acts, scheme, ffid course     of

conduct. This agreement is not meant, however, to prohibit the United        States

Probation Office or the Court from considering any other acts and factors which

may constitute or relate to relevant conduct. Additionally, if this agreement

contains any provisions providing for the dismissal of any counts, the defendant

agrees to pay any appropriate restitution to each of the separate and proximate

victims related to those counts should there be any.

XTV. TAX. FORT'EITURE Al\D OTHER CTYIL/ADMINISTRATIVE
     PROCEEDINGS

        Unless otherwise specified herein, the defendant understands and

acknowledges that this agreement does not apply to or in any way limit any pending

or prospective proceedings related to defendant's tax liabilities,   if any, or to any

pending or prospective forfeiture or other civil or administrative proceedings.            ,-
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      Defendant agrees to pay restitution to the Internal Revenue Service in the

total amount of no more than $l98,278.00,pursuant to 18 U.S.C. g 3663(aX3).

Defendant understands and agrees that this figure does not include interest under 26

U.S.C. $ 6601, which will be assessed by the IRS pursuant to Title26.


      Defendant agrees that the total amount of restitution reflected in this

agreement results from Defendant's fraudulent conduct, and consists of the

following estimated tax deficiencies   :




              TAX YEAR                                 TAX DEFICIENCY

                  20t1                                       $9,165


                  2012                                       $17,816


                  20t3                                       $23,150


                  2014                                       $33,718


                  20t5                                      $114,429


                TOTAL                                       $198,278




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        Defendant agrees that restitution is due and payable immediately after the

judgment is entered and is subject to immediate enforcement, in full, by the United

States.   If the Court imposes a schedule of payments, Defendant agrees that the

schedule of payments is a schedule of the minimum payment due, and that the

payment schedule does not prohibit or limit the methods by which the United States

may immediately enforce the judgment in full.


        The IRS   will   use the amount of restitution ordered as the basis for a        civil

assessment under 26 U.S.C. $ 6201(aX4). Defendant does not have the right to


challenge the amount of this restitution-based assessment. See 26 U.S.C.             $


6201($@)(C). Neither the existence of a restitution payment schedule nor

Defendant's timely payment of restitution according to that schedule           will preclude

the IRS from immediately collecting the full amount of the restitution-based

assessment. Interest on the restitution-based assessment      will   accrue under 26 U.S.C.


S   6601 from the last date prescribed for payment of the tax liability that is the

subject of the restitution-based assessment to the date that the IRS receives fulI

payment.


        Defendant is entitled to receive credit for restitution paid pursuant to this plea

agreement against those assessed civil tax liabilities due and owing for the same


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periods for which restitution was ordered. Defendant understands and agrees that

the plea agreement does not resolve the Defendant's      civil tax liabilities, that the IRS

may seek additional taxes, interest and penalties from Defendant relating to the

conduct covered by this plea agreement and for conduct relating to another time

period, and that satisfaction of the restitution debt does not settle, satisff, or

compromise Defendant's obligation to pay any remaining civil tax liability.

Defendant authorizes release of information to the IRS for purposes of making the

civil tax and restitution-based assessments.


       Defendant understands that he is not entitled to credit with the IRS for any

payment until the payment is received by the IRS.


      If full payment   cannot be made immediately, Defendant agrees to make a

complete and accurate financial disclosure to the IRS on forms prescribed by the

IRS (including, but not limited to, IRS Form 433-A and Form 433-8,          as


appropriate), and to disclose to the IRS any and all additional financial information

and financial statements provided to the probation office. Defendant also agrees to

provide the above-described information to the probation office.




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       If Defendant   makes a payment of the restitution agreed to herein prior to

sentencing, the payment   will   be applied as a credit against the restitution ordered by

the Court.


       Defendant agrees to send all payments made pursuant to the court's

restitution order to the Clerk of the Court.


       With each payment to the Clerk of the Court made pursuant to the District

Court's restitution order, defendant   will provide the following information: (A)

Defendant's name and Social Security number; (B) the District Court and the docket

number assigned to this case; (C) tax year(s) or period(s) for which restitution has

been ordered; and (D) a statement that the payment is being submitted pursuant to

the District Court's restitution order.


     Defendant agrees to include a request that the Clerk of the Court send the

information, along with Defendant's payments, to the IRS address below:


     IRS . RACS
     Attn: Mail Stop 626l,Restitution
     333 W. Pershing Ave.
     Kansas City, MO 64108.

     Defendant understands and agrees that interest imposed by Title 26         will
continue to accrue until the payment is actually received by the IRS.


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     Defendant also agrees to send a notice of any payments made pursuant to this

agreement, including the information listed in the previous paragraph, to the IRS at

the following address:


       IRS. RACS
       Attn: Mail Stop 6261, Restitution
       333 W. Pershing Ave.
       Kansas City, MO 64108.

       Based upon his plea of guilty to the offense alleged in COLTNTS ONE

through SIX of the Information, the defendant consents to the entry of a forfeiture

judgment against him in an amount of no more than $767,783.00, and

acknowledges that said amount represents the amount of proceeds he obtained

directly or indirectly   as a result   of his criminal offense, pursuant to Fed. R. Crim.      P.


32.2(b)(l). The defendant further         acknowledges that, in the event the defendant is

unable to pay the forfeiture judgment, the government is authorizedunder law to

seek the forfeiture of any and all assets of the defendant as substitute assets for the

pu{pose of satisffing the forfeiture judgment until same is satisfied in       full.   The

defendant agrees not to file a claim or petition for remission for any such substitute

asset in any   judicial proceedings that may be initiated or that have been initiated.

The defendant waives any further notice of the forfeiture of any asset covered by

this Plea Agreement, agrees to take all steps requested by the United States to pass


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clear title to the forfeitable assets to the United States, and agrees to testifu

truthfully in any judicial forfeiture proceeding.

       The defendant agrees to waive any Double Jeopardy challenges that he may

have to the entry of a Forfeiture Order before sentencing. The defendant agrees to

waive any claims, defenses or challenges arising under the Excessive Fines Clause

of the Eighth Amendment resulting from the forfeiture imposed as a result of this

Information and/or any pending or completed administrative or civil forfeiture

actions based upon the course of conduct that provides the factual basis for the

forfeihre.

       The defendant hereby waives the requirements of Fed. R. Crim. P. 43(a) with

respect to the imposition of any forfeiture sanction carried out in accordance with

this Plea Agreement, and further agrees to not contest or challenge in any rBIIner

(including direct appeal, habeas corpus, or any other means) such forfeihrres on any

grounds, including that the forfeiture constitutes double jeopardy, or an excessive

f,rne or punishment.


       Defendant recognizes that pleading guilty may have consequences with

respect to immigration status   if is not a citizen of the United States. Under federal

law, a broad range of crimes are removable offenses, including the offense(s) to

which defendant is pleading     gullty.   Removal and other immigration consequences

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are the subject of a separate proceeding, however, and defendant understands that

no one, including attorney or the district court, can predict to a certainty the effect

of conviction on immigration status. Defendant nevertheless affirms that wants to

plead guilty regardless of any immigration consequences that plea may entail, even

if the consequence is automatic removal from the United States.

XV.    DEFENDANT'S UNDERSTAI\DING

       I have read and understand the provisions of this agreement. I have

discussed the case and my constitutional and other rights with my             lawyer. I am

satisfied with my lawyer's representation in this case. I understand that by

pleading guilty, I will be waiving and giving up my right to continue to plead not

guilty, to   a   trial by jury, to the assistance of counsel at that trial, to confront,

cross-examine, or compel the attendance of wiuresses, to present evidence in my

behalf, to maintain my privilege against self-incrimination, and to the presumption

of innocence. I agree to enter my plea           as   indicated above on the terms and

conditions set forth herein.

       NO OTHER PROMISES OR REPRBSENTATIONS HAVE BEEN
       MADE TO ME BY THE PROSECUTO& OR By Ar\ryotrE ELSE,
       NOR HAVE AI\[Y THREATS BEEN MADE OR FORCE USED TO
       INDUCE ME TO PLEAD GUTLTY.




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       I further state that I have not had any drugs, medication, or alcohol within the

past 48 hours except as stated here:

       I understand that this Plea Agreement will take effect and will be binding         as


to the Parties only after all necessary signatures have been affixed hereto.

       I have personally and voluntarily placed my initials on every page of this

Agreement and have signed the signature line below to indicate that I have read,

understand, and approve all of the provisions of this Agreement, both individually

and as a total binding agreement.




DATE                                                   L. ROBINSO




XYI. COI]NSEL'S ACKI\OWLEDGMENT

      I   have discussed this case with my client in detail and have advised my client

of all of my client's rights and all possible defenses. My client has conveyed to me

that he understands this Agreement and consents to all its   terms. I believe the plea

and disposition set forth herein are appropriate under the facts of this case and are




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in accord with my best judgment. I concur in the entry of the plea on the terms and

conditions set forth herein.




DATE                                      zuCHARD S. JAFFE
                                          Defendant's Counsel



      aftafr*
DATE                                      MICHAEL W. WHISONANT.             ]IT
                                         Defendant's Counsel / Tr,



XV[.      GOYERNMENT'S ACKNOWLEDGMENT

          I have reviewed this matter and this Agreement and concur that the plea and

disposition set forth herein are appropriate and are in the interests ofjustice.

                                         ROBERT O. POSEY
                                         Acting United States Attorney




Su^*-40,                Zor?
DATE                                     GEORGE $.IMARTEI, JR.
                                         Assistant Un-ited States Attorney




.,!Ue ?2, 1nt7
DATE                                     ROBIN B. MARK
                                         Assistant United States Attorney

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Revised November 2009
